Case 1:21-cv-20430-JLK Document 10 Entered on FLSD Docket 07/12/2021 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                           CASE No.: 1:21-CV-20430-KING/BECERRA

 MAYRELIS MEDEROS,

        Plaintiff,

 vs.

 ODALYS ALPIZAR INSURANCE CORP.,
 and ODALYS ALPIZAR,

       Defendants.
 _____________________________________/

         ORDER GRANTING JOINT MOTION TO APPROVE THE PARTIES’
       SETTLEMENT AGREEMENT AND DISMISSING CASE WITH PREJUDICE

        THIS CAUSE came before the Court upon the parties’ Joint Motion for Entry of Order

 Approving Settlement and Dismissing the Case with Prejudice (DE #9) filed July 9, 2021, and

 the Court having reviewed the motion and the file in this cause, having noted the agreement of

 the parties and being otherwise fully advised in the premises, it is hereby

        ORDERED, ADJUDGED and DECREED as follows:

        1. That the parties’ settlement is hereby APPROVED.

        2. That this action is DISMISSED WITH PREJUDICE. The Court shall retain

 jurisdiction to enforce the terms of the parties’ settlement, should such enforcement become

 necessary.

        3. All unresolved pending motions in this case are hereby DENIED as moot.

        4. The Pretrial Conference previously set for May 6, 2022 and the Trial previously set

 for July 25, 2022 are hereby CANCELED.
Case 1:21-cv-20430-JLK Document 10 Entered on FLSD Docket 07/12/2021 Page 2 of 2




       5. The Clerk shall CLOSE this case.

       DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 12th day of July, 2021.



                                                 JAMES LAWRENCE KING
                                                 UNITED STATES DISTRICT JUDGE

 cc:   All Counsel of Record
